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                          U M TED STA TES DISTR ICT C O U R T
                          SOUTIIERN DISTRICT OF FLORIDA

                                         C ase N o.:22-cv-60974-R 5
                                                                      FILED BY                D.C,
    GREEN TREE SERVICING,LLC
         Plaintiff,
                                                                          JdL 26 2022
                                                                           ANGELA E.NOBLE
                                                                          CLERKtlS,DIST CT,
                                                                         s.D.oFFt
                                                                                -
                                                                                k.-F'T.i-Auo.
    M A RC W EIN BER GER ,ef.al
          Defendant.            /
    DEFENDANT m RC W EINBERGER'S RESPONSE IN OPPOSITION TO NON-
        PARTY IN INTRESX GREEN TREE SERVICING.LLC'S M OTION TO
                  REM AND and BRIEF IN SUPPORT THEREOF

           COM ES N OW Defendant,M arc W einberger whom hereby subm its this, my

    Response in Opposition to N on-party In Interest,Green Tree Servicing,LLC'S M otion to

    Remand (ECFNo.1% andinsupporthereofstates:
       A . Introduction

           According to itsown filings,Non Party Green Tree isno longerthe Gtrealparty in

    interest''inthism atter,andtherefore,doesnothavethenecessary standingtorequestrelief

    from thisCourt. ln fact,joinderoftherealparty in interest,Ditech Financial,ELC is
                   N.

    necessary and wduld thereafter,be the appropriate party,with the appropriateinterestin
    thism atter.

           FederalRuleofCivilProcedure17(a)requiresa11federalactionsprosecutedinthe
                             .w ,N.
                                  ....



    nameoftherealpartyin interest.SeeFed.R.Civ.P.17(a).Thepurposeofthatruleisto
    enable the defendantto availhim selfof evidence and defenses thatthe defendanthas

    againsttherealpartyininterest,andtoassurehim finalityofthejudgment,andthathewill
    be protected againstanothersuitbroughtby the acttzalrealparty in intereston the snm e

    matter.''Tennyson v.ASCAP,477 Fed.App'x 608,610 (11th Cir.2012).ln Airlines


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    ReportingCorp.v.SandN Travel,lnc.,58F.3d857,862(2dCir.1995),theSecondCircuit
    held thatitwouldnotfindthecitizenship ofacorporation to controlwhen thecorporation

    wasm erely acting asan agentrepresenting theinterestsofothers. Itsuted thatin such a

    case,the citizenship oftherepresented individualscontrolsfordiversity purposes,asthey

    aretherealand substnntialpartiesto the dispute.''

           Based on this precedent,it seem s clear that Green Tree's citizenship does not

    controlto determine diversity jtuisdiction,but rather the Courtshould look to the
    citizenship oftherealparty in interest-Ditech.

           Here,1the Defendantrespectfully subm itthatunderthe currentcircum stances of

    this rem oved case,it would be m anifestly erroneous for this Courtto enter an order

    rem anding thiscase,based on a non-party'sm otion forrelief. The realparty in interest,

    D itech Financials,LLC has failed to file a tim ely m otion to rem and.

       B . B ackground

        On M arch 5,2014,an entity bythenameoftr reen Tree Serdcing,LLC''CGreen
    Tree'')Eledthisremovedcomplaintagainstme,M arcW einberger.
       H ow ever,on Febrtzary 14,2017,Green Tree filed a m otion i.
                                                                  n the 17thJudicialCircuit

    Court,in andforBrowardColmty,Florida(theGtsàtecotuf'lconfinningthatanentityby
    thennme ofRDitech Financial,LLC''CDitech'')istt
                                                  now themalparty in interest''by
    m erger doctunents...'' A copy ofnon-party Green Tree's February 14,2017 State court

    m otion,in w hich Green Tree adm its that D itech is ttnow the real party in interesf',is

    attached hereto asExhibitA .
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        M oreover,according to the State ofFlorida,Division ofCorporations'website,Green

    Treehasbeen Etadministratively dissolved''sinceatleast,N ovem ber12,2019.SeeExhibit

    B,attached hereto.

        lmportantly,on M arch 7,2017,an orderwasentered by the SGte courtsubstituting

    non-partyGreen Tree'spreviousatlorney,theLaw OffcesofPopkin & Rosaler,P.A .,with

    Green Tree's current Sute courtattorney,Phelan Hallinan Diam ond & Jones,PLLC.

    However,thisM arch 7,2017 ordersubstittlting non-party Green Tree'sattonzey,isofno

    relevanceherethatisbecausenoattorney hasappeared in the Statecourq norinthisCourt,

    on behalfoftherealparty irlinterest- Ditech Financial,LLC.

        On M ay 23,2022, 1,apro selitigantl, rem oved the underlying state courtcase from

    the aforem entioned SGte court,to thisfederalcourtbecause of,nm ong othergrotmds,the

    previousparties,GreenTree2 - acitizenof'Arizona;and(M arcW einberger-acitizenof
    Florida)diversecitizenship. Assuch,thisactionisoneinwhichtlzisUnitedStatesDistrict
    Coutt fortheSouthem DistrictofFloridahassubjectmatterjurisdiction.
            Specifcally,in my M ay23,2022 petition forrem oval,lclearly and unequivocally

    alleged thatthepreviousPlaintiff,IEtlreen Tree'',was.....oand stillis,acitizen ofthe State

    ofArizona'';andthat1,theDefendant(M arcW einberger)tGwas.....-and stillis,acitizen
    ofFlorida''(emphasisadded);(see!4 oftheM ay23,2022 RemovalPetition).(ECFNo.




     lGA proselitigant'spleadingsmustbeconstruedmoreliberallythan pleadingsdraftedby attorneys.See
    Hainesv.Kerner,404U.S.519,520-21(1972),.seealsoMillerv.Donald,541F.3d 1091,1100(111 Cir.
    2008)(srosepleadingsareheldtoalessskingentstandardthanthosepleadingsdrahedbyattorneysand
    will,therefore,beliberallyconstruedo).
    2PreviousPlaintië GreenTreeisacojporationorganizedandexistingunderthelawsoftheStateof
    Arizonawith itsprincipleplaceofbusmessin Arizona.Thus,GreenTreeis,orwas,acitizen ofArizona
     forthepurposesofdeterminingdiversity.28U.S.C.j1332(c)(1).
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            N evertheless,on June 21, 2022,an entity that is N O T 'the real party in interest,

    GreenTreeServicing,LLC filedamotiontoremandthiscasebacktotheStatecourt.(ECF
    No.31.Respectfullyhowever,therealpartyininterest,DitechFinancial,LLC hasnotyet
    appeared in tllis rem ovalaction - m ore importantly,the realparty Ditech,hasfailed to

    tim ely filed am otion toremandthiscaseback to the Statecourt. Therefore,the entry ofa

    remand orderbased ontherecord asitslandstoday,wotlldbebased on an untimel
                                                                            y m otion

    to rem and and/orbased on a perceived Etprocedtlraldefects''- this,the Courtshould not

    do.
            The sole ground forthenon-party Green Tree'sJune 21,2022 M otion to Remand

    is(accordingtoGreen Tree)RbecausetheDefendantacknowledgethat(they)arecitizens
    ofFloridawhoweresuedinFlorida,(theylcannotremovetheactiontofederalcourttmder
    the diversity statute''.Thus,it appearsthatnon-party Green Tree's June 21,2022 m otion

    torem andisbased on what'scustom mily referred to asthettdefendantforum rule''- that's

    when çça federalcourtlackssubjectmatterjudsdiction overamatterbroughttmder28
    U.S.C.section1332(a)ifadefendantisacitizenofthestateinwhichtheactionisbroughf'.
            Yes,itm ay betruethat1,theDefendantM arcW einbergerisacitizen ofthe State

     ofFloridaand thatthe action wasbroughtherein the stateofFlorida. However,the real

    party in interest,Ditech ehooseto waive al1ttnon-jtuisdictional''defectsin thisinstant
    removalprocessby failing to raiseskw%proceduralargumentswithin 30daysofmy filing

     oftheM ay 23,2022noticeofrem oval.

                       BRIEF IN SUPPORT OF M OTION TO VACATE


     THE SUA SPONTE #F3f4Af)ORDER

          * W CourtCannotRemand Sua Sponte
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           fora .'ProceduralDefect''-andPriortoaTimelyFiled
           M otion to Rem and

           ln WholeHealth Chiropractic tê Wellness,Inc.v.H umana M edicalPlan,Inc,the

    Eleventh CircuitCourtofAppealsheldthat28U.S.C.j 1447(c)doesnotauthorizeany
    suasponteremandordernotbasedon subjectmatterjudsdiction-evenifmadewithinthe
    thirtpdayperiod.(EmphasisAdded). Rather,thecourtmustwaitfortheplaintifftofle
    am otion forremand. Here,thePlaintiff,H SBC neverfiled such am otion forrem and.

           W hereadefectisprocedural,remandsua sponteiserroneous. SeeYusefzadehv.
    Nelson,Mullins,Riley tfnScarborough,365F.3d 1244(1141Cir.2004).(A Hcourtwhich
    hassubjectmatterjurisdictionmaynotremandthecasesuasponte.'b.
       L      2# UX C f1447(c)
           Plzrsuantto28U.S.C.1447(c),amotiontoremandthecasebased on anydefectin
    the removalprocedure,m ust be m ade within 30 days after the filina of the notice of

    removalundersection 1446(a).Here,andpursuantto 28U.S.C.1447(c),anyobjections
    to defects in m y M ay 23,2022 rem ovalprocedures,were waived by the realparty in

    interest,Ditech's failure to tim ely file a m otion forrem and w ithin t ' days.

           Section 1447(c)specifiestwo groundsforremandingaremoved case:(1)lack of
    subjectmatterjurisdiction;or(2)proceduraldefectizlthe removalofthe case.Things
    Remembere4 Inc.v.Petrarca,516 U.S.124, 127-28,116 S.Ct.494, 133 L.Ed.2d 461

    (1995);FloridaPolkCounty,170F.3dat1083.
           Clearly, Green Tree's Jtm e 21,2022 m otion to rem and the case to state courtis

    grounded on the perception thatthe ''defendant-forum rule''wasnotmet. However,as

    explained in more detailsbelow,the defendant-fonzm nzle ism erely a procedtlraldefect

    thatdoesnoteffectthisCourt'ssubjectmatterjurisdiction.IA general,aproceduraldefect
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    isanytechnicalsubstnntiveorproceduralerrorwlaichisnotachallengetolackofsubject
    matterjurisdiction.Wilson v.GeneralM otors Corp.,888 F.2d 779,781n.1(111 Cir.

    1989).
             Here,there isno disputing thatthe realparty in interest,Ditech hasfailed to filea

    timelymotiontoremandandthus,haswaivedany anda11objectionstotheM ay 23,2022
    removalprocedure. In fact,Ditech,despite being properly noticed by the clerk ofthis

    Court,hasnevereven appeared in thisinstantrem ovalaction.

             A ssuch,iftheCourtentersaremandorderpriorto Ditech'smotion forsnm e,such

    a rem and order would not only be entered sua sponte,but it would be based upon a

    perceived defectin theremovalprocedm e,and notbased upon theCourt'slack ofsubiect

    matterjurisdictionasrequiredbythestatute.Inthisinstantcase,thejurisdictionalissueis
    undisputed -thisisbecause oftheparty'sdiverse citizensllip and because ofthe factthat

    thecontroversyexceeds$75,000dollars.(ECF.No 1j.Here,itwouldbeabtmdantlyclear,
    thatany remand orderentered in thispresentcase,would be based on groundsotherthan

    thosecontainedin j1447(c).
        IL       Only 30DaystoRemandfor
                N on-lurisdictionalProcedural
                 Defects
             After1filed my M ay 23,2022 notice ofremovalpetition,RealParty,Ditech did

    absolutelynothinghereintlziscourt.Providingthat28U.S.C.j1447(c)allowsaPlaintiff
    only thirty days to objectto removal. RealParty Ditech has therefore waived any
     objectionstotheM ay23,2022removalprocedure.Admittedly,waiverispossibleonlyif
    theEtfortlm-defendantrule''isanon-judsdictionaldefectin theremovalprocedure,which
     asexplained below ,itis.
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       IIL      The uForumm efendantRule''
                Is a N on-lurisdictionalprocedural
                Defect
             Yes,itistnzethatthe''fonlm -defendantrule,''m ay prohibitrem ovalin caseswhere

    there is an in-state resident defendant.See28 U.S.C. j 1441(b)(2)(''A civil action
    otherwiseremovable solely on thebasisofthejudsdiction undersection 1332(a)ofthis
    titlemay notberemoved ifany ofthepartiesirtinterestproperlyjoined and served as
    defendantsisacitizenoftheStateinwhich such actionisbrought.'').
             However,thefonlm-defendantruleisnotjudsdictionalinnature.SeeLivelyv.Wild
    OatsMarkets,Inc.,456 F.3d 933,940(9th Cir.2006)(fmdingthatthe fonzm-defendant
    rule isprocedural;identifying thateightofnine circuitsto haveconsidered theissuehave

    folmd the same); Also see Pacheco dePerez v.WF (f'T Co.,139F.3d 1368,1372n.4
    (111 Cir. 1998) (''lloemovalby the residentdefendants is a procedural,and nota
    jurisdictionaldefect-'').
             Becausethefonzm-defendantruleisanon-jurisdictionalruleherein theEleventh
    Circuit,itmaybewaived.See28U.S.C.j 1447(c)(''A motiontoremandthecaseon the
    basisofanydefectotherthan lackofsubjectmatterjurisdictionmustbemadewithin 30
    days after the filing of the notice of removal tmder section 1446(a).'') (Emphasis
    added);see also Lively,456 F.3d at939.''A plaintiffmay eitherwaive theprocedural
    defectstem m ing from a residentdefendant'srem ovalorm ay file am otion to rem and w ithin

    30 days ofrem oval.''Plom bco Inc.v.TBC RetailGrp .,Inc.,N o.13-81026-C1V ,2013 W L

    5863571,at*2(S.D.Fla.Oct.31,2013)(citingcasesfindingthesame).
             Here,no one can dispute thatthe removalpetition identifiesm e,the D efendant

    M arc W einbergerasa citizen ofFlorida and identifiesthe RealParty atthe tim e,Green



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    Treeasacitizen ofAdzona(ECF N,
                                 o.1j.Cleady,however,theRealPM atthetimethe
    case was removed to this Courq Ditech did not tim ely m ove to rem and the case,or

    othem ise raise the issue of the defendant-forum rule. Thus,Ditech has waived this

    objection toremoval,because itdid notmoveforremand orotherwisebringthealleged
    defectin removaltotheCourt'sattention within thethizty daysprovided by28 U.S.C.j
    1447(c) -in spite ofthe noticesprovided by Defendantand the clerk ofthisCourt.
    M oreover,Ditech has failed to provide any explanation for itsdelay. Accordingly,the

    non-party Green Tree's m otion to rem and on the sole basis of the fonlm -defendantrule,

    should bedenied.

           ThisCourt'sinterpretationofj 14411)should comportwith theothereightgout
    ofthenineqcircuitscourtsthathaveaddressedthisissue.See,e.g.,Handelsmanv.Bedford
    Vill.Assocs.Ltd.P'
                     shi
                       p,213F.3d48,50n.2 (2dCir.2000)(describing aviolation ofthe
    forum defendantrule asawaivable ''proceduraldefect'');Hurley v.MotorCoach Indus.
    Inc.,222F.3d377,380(7th Cir.2000)(holdingthatthefonzm defendantrule''ismorea
    m atter of rem oval procedure, and hence w aivable, tha11 a m atter of

    jurisdiction''l;Blackburnv.UnitedParcelA rlt,Inc.,179F.3d 81,90n.3(3d Cir.1999)
    (descdbingaj144109violationasawaivableremovaldefect);PachecodePerezv.ATT
     Co.,13I/.3d 1368,1372n.4(111 Cir.1998)(snme);In reShellOilCo.,932F.2d 1518,
     1523(5th Cir.1991)(same);Farm Constr.Senw,Inc.v.Fudge,831F.2d 18,22(1stCir.
     1987)(holdingthataviolation ofthefonlm defendmltruledidnotstt'
                                                                  ip thedistrictcourt
    ofitsjllrisdictionbecauseitwasa''technical''defectthathadbeenwaived);Am.OilCo.v.
    McM ullin,433 F.2d 1091,1095(10th Cir.1970)(describing aj 1441(b)violation asa
     waivabledefectin removalproceedings);Handley-M ack Co.v.Godchaux Sugar Co.,2
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    F.2d 435,437(6th Cir.1924)(describingremovalbyafonzm defendantasa ''technical''
    violation);but see Hurt       Dow Chem. Co.,963 F.2d 1142, 1146n. 1 (8th Cir.
    1992)(holdingthataviolationofj1441(b)isanon-waivablejurisdictionaldefect).
                                      CONCLUSION

           Cleady,thisCourthassubjectmatterjudsdiction overthisclaim ptzrsuantto 28
    U.S.C.j 1332,known as ''diversity judsdictiom'' Section 1332 conferssubjectmatter
    judsdictionupondistrictcourtsovercivilactionsbetween ''citizensofdifferentStates''and
    forwllich the am otmtin controversy exceeds$75,000,exclusive ofinterestand costs.28

    U.S.C.j 1332(a)(1). Here,itisundisputed thattheDefendanthasmeetboth ofthese
    jurisdictionalrequirements.
           Respectfully however,thenon-party Green Tree isaslcingthisCourtto exceedthe

    groundsforremand contained in j 1447(c),asnon-party Green Tree's June 16,2022
    motiontoremandisclearlybased on anon-jtuisdictionaldefectintheremovalprocedtzre,
    andnotontheCourt'slackofsubjectmatterjudsdiction.M oreover,aremandorderwould
    notwithin theboundsofj 1447(c)because itwould beissued before the realparty in
     interest,Ditech filed atimelymotion to remand asprovided in thestatute. Reading jj
     1447(c) and (d)together,an order remanding on procedural grotmds either upon an
     tmtimelymotionorasuasponteorderisnotauthorizedby j 1447(c).
           W HEREFORE,1,the DefendantM arcW einbergerishereby requesting thattlzis

     Courtdeny Green Tree'smotion to rem andtlliscasetothestateCourt9om which itcam e,

     andforanyfurtherreliefthattheCourtdeemsjust.
     Respectfully Subm itted,
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                                 C ER TIFICA TE O F SER V ICE

             1hereby certify thatatnzeand correctcopy oftheforegoing hasbeen furnished by

     U.S.M ail to Plaintiff attorney,ROBERTSON ,AN SCHUTZ,SCHNEID ,CRANE &

     PARTNERS,PLLC at6409 Conr esjAvenue,Suite 100,BocaRaton,Florida 33487 on

     this 26thday Jtlly, 2022.
        /f
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       $70 W 11 Court
      ooperCity,Florida33330




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                                                                             IN THE CIRCU IT COU RT OF TllE
                                                                             SEVENTEENTH JUDICIAL CIRCUIT,
                                                                             IN A N D FOR BR OW D   COU N TY ,
                                                                             FLORIDA
                                                                             CIVIL D W ISIO N
                                                                             CASE NO.:(M E14004643
          GREEN TREE SERV ICIN G LLC
            Plintiff,

          VS.

          12170 CW ELT-2007,LLC,etal
            D efendants.                 - -
                                                                  /



                M OTION TO SUBSTITUTE PARTY PLm                         H FF AND AM END CASE STR E

                    COM ES NOW , Plaintiff, GREEN TREE SERXICING LLC, by and through its
         undersigned counseland pursuantto Rule 1.260(c)pfFloridaRulesofCivilProcedure,hereby
                                                                            ' '
                                                                      . .

         movesthisCourtforanOrderpermittingsubstiiutiùnofPartyPlaintiffandAmend CaseStyle
         and states as follows:
                    The Com plaintw as filed in this cause on or aboutM arch 5,2014 nam ing GREEN TREE

                    SERVICW G LLC asthe Plaintiff.

            2. DITECH
                  Q'
                      FW ANCIAL,LLC is now the real party in interest by m çrger docum ents,
                                '
                      , .
                            '
                .

                    attàched asExhibit'W ''

                    W H EREFO RE ,Plaintiffs A ssignee,D ITECH FW A N CIAL,LLC ,respectfully requests

         the Courtgrantthis M otion to Substimte Party Ple tiffand Amend Case Style and substitute

         DITECH FW ANCIAI., LLC in place of GREEN 'IREE SERVICW G LLC as the proper

         Plaintiffin thisaction and nmend case style to reflectthe snm e.




         PH # 80186                                                                                                 Page 1of2

            *+* W T Wn ''QD fm fA 'Dn O Cb%TKTW   KT WD WX'ITXA n W/XDAA AM       MT WD V O /1; IlA 1N (1'Afà';T DAA ** **
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         I H EQEBY CER TV Y thata true and correctcopy of the foregoing M otion to Substitute

  Party Plaintiffhas been fum ished via U .S.M ailand/orEm ailto a11partieson the attached

  Serdce Liston February 14,2017.

                                          Phelan H allinan D iam ond & Jones,PLLC
                                          A ttorneys forPlaintiff
                                          2727 W estCypressCreek Road
                                          Ft.Lauderdale,FL 33309
                                          Te1:954-462-7000                                     .,
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                                                                                                    .
                                          Fax:954-462-7001                                 k,:' .
                                          Serviceby em ail:Fl-.service@ phelanhallinan.cö111'

                                          By:/s/HeatherJ.Koch                .
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                                              PhelanHallinanDiamond& X nès,PLLC
                                              HeatherJ.Koch,Esq.,F1()ii4à'
                                                                         .BarNo.89107
                                              EmilioR.Lenzi,Esq.,'
                                                                 Fiörici BarNo.0668273




  PH # 80186                                                                               Page2 of2
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                         E xhibit <<A ''
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GREEN TREE SERVICING LLC                               M030000018:8




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            GREEN TREE SERVICING LLC                                                                                      M:34:0* 1888




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7300 W .M CN A B 1:17,# 220
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LAw OFFICES 0/ POPKW & ROSALER,P.A.
1701W estHillsboroboulevard,Suite400
D eerfield Beach,FL 33442-1572
E-service Em ail:pleadings@ popkinrosaler.com
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2727 W estCypress Creek Road
Ft.Lauderdale,FL 33309
Service by Em ail:FL.service@ phel= H allinr .com
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   Efective Date                 11/12/2019
   State                         FL
   Status                        INACTIVE
   LastEvent                     ADMIN DISSOLUTION FOR ANNUALREPORT
   EventDate Filed               09/24/2021
   EventEffective Date           NONE
    PrincipalAddress
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    MIAMISPRINGS,FL 33166 UN
    Mailing Address
    216 SHADOW W AY
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